        Case 3:15-cv-00675-JBA Document 2308 Filed 08/15/22 Page 1 of 6




                              UNITED STATES DISTRICT COURT
                                DISTRICT OF CONNECTICUT

  UNITED STATES SECURITIES AND EXCHANGE
  COMMISSION,                           Civil No. 3:15cv675 (JBA)
       Plaintiff,
                                        August 15, 2022
       v.

  IFTIKAR AHMED,
        Defendant, and

  IFTIKAR ALI AHMED SOLE PROP; I-CUBED
  DOMAINS, LLC; SHALINI AHMED; SHALINI
  AHMED 2014 GRANTOR RETAINED ANNUNITY
  TRUST; DIYA HOLDINGS LLC; DIYA REAL
  HOLDINGS, LLC; I.I. 1, a minor child, by and
  through his next friends IFTIKAR and SHALINI
  AHMED, his parents; I.I. 2, a minor child, by and
  through his next friends IFTIKAR and SHALINI
  AHMED, his parents; and I.I. 3, a minor child, by and
  through his next friends IFTIKAR and SHALINI
  AHMED, his parents,

         Relief Defendants.



   ORDER GRANTING MOTION OF MURTHA CULLINA TO WITHDRAW AS COUNSEL

       Paul E. Knag, counsel for Relief Defendants, filed a motion on behalf of himself and the

Murtha Cullina firm to withdraw as counsel pursuant to Rule 7(e) of the Local Rules of Civil

Procedure on the grounds that continued representation would be an unreasonable financial

burden. (Mot. of Murtha Cullina to Withdraw as Counsel for Relief Def. [Doc. #2274]

(“Murtha Mot.”)). Relief Defendant Shalini Ahmed consents to the motion to withdraw; the

motion is silent as to the positions of I-Cubed Domains, LLC, Shalini Ahmed 2014 Grantor
        Case 3:15-cv-00675-JBA Document 2308 Filed 08/15/22 Page 2 of 6




Retained Annuity Trust, DIYA Holdings, LLC, DIYA Real Holdings, LLC, and I.I. 1, I.I. 2, and I.I.

3 (the Ahmed’s three children). (Murtha Mot. at 3.) No party has filed an opposition.

I.     Legal Standard

       A motion to withdraw under D. Conn. R. Civ. P. 7(e) “normally will not be granted

except upon a showing that other counsel has appeared or that the party whose counsel

seeks to withdraw may and has elected to proceed without counsel, and that the party has

received actual notice of the motion to withdraw." GEOMC Co. v. Calmare Therapeutics, Inc.,

No. 3:14-CV-1222 (VAB), 2020 WL 12880834, at *1 (D. Conn. Mar. 30, 2020). However, the

court has a “great deal of discretion” in deciding such motions. Id.

       A.B.A Model Rule of Professional Conduct 1.16(b)(6) states that a lawyer “may

withdraw from representing a client if . . . the representation will result in an unreasonable

financial burden on the lawyer or has been rendered unreasonably difficult by the client.”

While “non-payment typically is an insufficient basis to withdraw from representation,”

GEOMC Co., 2020 WL 12880834 at *2, “the court cannot force [the party’s] counsel to

continue to represent them unpaid.” Halo Tech Holdings, Inc. v. Cooper, No. 3:07-CV-

489(AHN), 2008 WL 11377686, at *1 (D. Conn. Sept. 24, 2008).

II.    Discussion

       Murtha alleges that the Relief Defendants owe $596,956.56 in unpaid fees as of May

31, 2022, with unpaid fees continuing to accrue. (Murtha Mot. at 2.) Relief Defendants,

Murtha alleges, have not paid the firm any fees since January 2021. (Id.) Murtha represents

that while Shalini Ahmed has tried to limit the legal fees incurred by “becoming pro se on

certain matters,” there remains work to be done by Murtha for the other Relief Defendants



                                               2
        Case 3:15-cv-00675-JBA Document 2308 Filed 08/15/22 Page 3 of 6




and for Shalini Ahmed on certain other matters in the case. (Id. at 2.) Now faced with the

briefing associated with the Receiver’s Phase I Report as well, Murtha argues that it can no

longer continue while sustaining the heavy financial burden of further unpaid fees. (Id. at 3.)

       A client’s “failure to pay its legal fees constitutes a valid ground for granting a motion

to withdraw” in this circuit. See Halo, 2008 WL 11377686 at *1. Murtha has met the bar for

establishing unreasonable financial burden; both the amount of fees and the length of time

for which they have gone unpaid are comparable to other cases in which motions to

withdraw have been granted. See, e.g., Tokarz v. LOT Polish Airlines, No. 96-CV-3154

(FB)(JMA), 2005 WL 8161165, at *1 (E.D.N.Y. June 20, 2005) (granting counsel’s motion to

withdraw after $353,238.14 in fees went unpaid for almost a year and a half).

       Courts considering motions to withdraw will also consider the consent of the

represented party when it is given. See Harris v. Millington, No. CV20073391ERKMDG, 2008

WL 11438291, at *1 (E.D.N.Y. Sept. 18, 2008) (permitting withdrawal “[i]n light of the

client’s consent.”). While Shalini Ahmed has given consent to the withdrawal motion, the

remaining Relief Defendants are in a unique position; as corporations and minor participants

who must speak either through an attorney or a representative, they are unable to

independently voice their view on the withdrawal motion. Thus, it falls to the Court to

determine whether Shalini Ahmed’s consent may stand for that of the remaining Relief

Defendants as well.

       The Court has found no cases directly addressing whether, or under what

circumstances, one client of an attorney may speak on behalf of another jointly represented

client’s interests in consenting to the withdrawal of their counsel. However, under the Model



                                               3
        Case 3:15-cv-00675-JBA Document 2308 Filed 08/15/22 Page 4 of 6




Rule of Professional Conduct 1.7, a lawyer cannot represent multiple clients “if the

representation involves a concurrent conflict of interest.” The Comment to Rule 1.7 on

Special Considerations in Common Representation cautions that if “potentially adverse

interests cannot be reconciled,” the lawyer will ordinarily “be forced to withdraw from

representing all of the clients.” Id. ¶ 29.

       If there had ever arisen a situation in which the interests of Shalini Ahmed and the

other Relief Defendants conflicted, Murtha would have been ethically compelled to withdraw

from representing one or the other. Their continued joint representation is compelling

evidence that their interests remain aligned. Reality also bears out this theoretical principle;

Shalini Ahmed and the other Relief Defendants filed their Answer together, and since then

have filed dozens of motions on their joint behalf through the counsel who now seeks to

withdraw. (See Answer to the Sec. Am. Compl. [Doc. # 218]; Mot. to Dismiss by Relief

Defendants [Doc. # 224]; Consent Mot. for Release of Funds for Repairs and Common Charges

for a Relief Defendant’s Apartment [Doc. # 233]; Consent Mot. for Release of Funds for Partial

Payment of Attorney’ Fees and Disbursements [Doc. # 523]; Mot. for Summ. J. [Doc. # 618]).

       The law also provides specific support for Shalini Ahmed’s ability to speak on behalf

of the Relief Defendants that are corporations. A corporation “can only act through its

officers or agents.” Jerry Kubecka, Inc. v. Avellino, 898 F. Supp. 963, 970 (E.D.N.Y. 1995).

Because the officers and directors “are in formal control of an organization,” they

“speak for the entity which, as a legal construct rather than a corporeal being,

cannot speak for itself.” Chevron Corp. v. Salazar, 275 F.R.D. 422 (S.D.N.Y. 2011). Shalini

Ahmed is an officer or sole interest holder for each of the Relief Defendant corporations, and



                                               4
        Case 3:15-cv-00675-JBA Document 2308 Filed 08/15/22 Page 5 of 6




so is positioned to give consent on their behalf. (See Sec. Am. Compl. [Doc. # 208] ¶ 14 for I-

Cubed, LLC, stating that Iftikar Ahmed, the sole initial member, “assigned his interest in I-

Cubed to his wife, who later transferred most of that interest to the Shalini Ahmed 2014

Grantor Retained Annuity Trust”; ¶ 16 for Shalini Ahmed 2014 Grantor Retained Annuity

Trust, stating “a Delaware Limited Liability Company with Shalini Ahmed serving as a

trustee”; ¶ 17 for DIYA Holdings, LLC, stating that “Shalini Ahmed serves as the manager and

the entity holds at least two bank accounts, which were opened by Shalini Ahmed;” and ¶ 18

for DIYA Real Holdings, LLC stating that “Shalini Ahmed serves as manager and the entity

holds one bank account, which was opened by Shalini Ahmed.”).

       As to the Relief Defendants who are minor children, because the suit is brought for I.I.

1, I.I. 2, and I.I. 3 (the minor children of the Ahmeds) through their parents, which include

Shalini Ahmed, Shalini Ahmed’s consent for Murtha to withdraw is sufficient to stand for

their consent as well. (See Answer to the Sec. Am. Compl. [Doc. # 218] listing in the caption

I.I. 1, I.I. 2, and I.I. 3 each as “a minor child, by and through his next friends Iftikar and Shalini

Ahmed, his parents.”).

       Because the financial burden of continued representation has become unreasonable

and the represented parties have consented either directly or by proxy to the withdrawal,

the motion to withdraw [Doc. # 2274] is granted as to attorney Paul E. Knag and the Murtha

Cullina firm.




                                                  5
Case 3:15-cv-00675-JBA Document 2308 Filed 08/15/22 Page 6 of 6




                                                              IT IS SO ORDERED.


                                       _________________/s/_________________________

                                                    Janet Bond Arterton, U.S.D.J.

                 Dated at New Haven, Connecticut this 15th day of August, 2022




                                 6
